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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :   19-CR-696 (PAE)
                                                                       :
ARI TEMAN,                                                             :        ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, United States District Judge:

        The Court is currently reviewing defendant Ari Teman’s post-trial motions, including his

claim that the Indictment was constructively amended at trial insofar as it described certain

checks as “counterfeit.” The Court has determined, in the interest of due care, to review itself

the transcripts of the grand jury proceedings in this case, to enable the Court independently to

assess Teman’s contention that the theory of liability with respect to these checks pursued at trial

departed from that presented to the grand jury. For avoidance of doubt, the Court’s review of the

grand jury transcripts will be in camera and ex parte. The grand jury transcripts are not to be

supplied to the defense, which has not provided sufficient justification for defense access to these

materials. The Court’s decision resolving Teman’s motion will address these matters further.

        The Government is therefore directed to provide the Court with the grand jury transcripts

by May 8, 2020. In light of the current public health crisis, the Government, in lieu of supplying

hard copies of these transcripts, is to email them to the Court’s Chambers email address.
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      SO ORDERED.

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                                              PAUL A. ENGELMAYER
                                              United States District Judge
Dated: May 6, 2020
       New York, New York
